40 F.3d 1245
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Troy WINSLOW, Petitioner Appellant,v.CIRCUIT COURT OF SUFFOLK, Virginia, Respondent Appellee.
    No. 94-6907.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 26, 1994.Decided Nov. 3, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CA-94-966-AM)
      Troy Winslow, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order dismissing without prejudice his 28 U.S.C. Sec. 2254 (1988) petition for failure to exhaust state court remedies.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Winslow v. Circuit Court of Suffolk, Virginia, No. CA-94-966-AM (E.D. Va.  July 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    